USCA4 Appeal: 20-1329   Doc: 7        Filed: 03/31/2020   Pg: 1 of 2


                                                                  FILED: March 31, 2020


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                                     ___________________

                                       No. 20-1329 (L)
                                      (7:16-cv-00018-D)
                                    ___________________

        FREDRIC N. ESHELMAN

                    Plaintiff – Appellee

        v.

        PUMA BIOTECHNOLOGY, INC.

                    Defendant - Appellant


                                     ___________________

                                         No. 20-1376
                                      (7:16-cv-00018-D)
                                    ___________________

        FREDRIC N. ESHELMAN

                    Plaintiff – Appellant

        v.

        PUMA BIOTECHNOLOGY, INC.

                    Defendant - Appellee




                Case 7:16-cv-00018-D Document 452 Filed 03/31/20 Page 1 of 2
USCA4 Appeal: 20-1329     Doc: 7        Filed: 03/31/2020    Pg: 2 of 2


                                       ___________________

                                            ORDER
                                       ___________________

               The court consolidates Case No. 20-1329 and Case No. 20-1376 as cross-

        appeals. The appellant in Case No. 20-1329 shall be considered the appellant for

        purposes of the consolidated appeals and shall proceed first at briefing and at oral

        argument (if applicable). Entry of appearance forms and disclosure statements filed

        by counsel and parties to the lead case are deemed filed in the secondary case.

                                                      For the Court--By Direction

                                                      /s/ Patricia S. Connor, Clerk




                 Case 7:16-cv-00018-D Document 452 Filed 03/31/20 Page 2 of 2
